                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                         )
 et al.,                                              )
                                                      )
                  Plaintiffs and                      )
                  Counterclaim Defendants,            )
                                                      )
 v.                                                   )        Case No. 4:16-cv-02163
                                                      )
 PEOPLE FOR THE ETHICAL                               )
 TREATMENT OF ANIMALS, INC., et al.,                  )
                                                      )
                  Defendants and                      )
                  Counterclaim Plaintiffs.            )


       Pursuant to the Court’s Order entered and filed on 9/11/2018 [ECF No. 118], counsel for

Counterclaim Plaintiffs (“Plaintiffs”) and for Counterclaim Defendant Connie Braun Casey

(“Casey”) met and conferred in an attempt to resolve or narrow as many of their current disputes

as possible and respectfully submit this joint report setting out the results of their discussions.

I.     PENDING DISCOVERY MOTIONS

       A. Motion to Compel Deposition of Casey [DOC. # 96]

Joint Position:

       Casey will present herself for deposition on October 29 in accordance with Plaintiffs’

Second Amended Notice of Deposition.

       Plaintiffs withdraw this motion, including their requests for fees and costs.

       B. Motion to Compel Inspection [DOC. # 94]

Joint Position:

       The parties agreed to proceed with the inspection on October 30, pursuant to an Amended

Request for Rule 34 Inspection (“Amended Request”), subject to the following provisos:

                                                  1
       (A) With respect to the activities listed on the Amended Request, Casey would be required
           to permit inspection only as to those activities that occur in the ordinary course as part
           of the daily husbandry practices and procedures occurring at the facility during the time
           of the inspection. To the extent that the Amended Request refers to activities that are
           not performed in the ordinary daily course during the time when the inspection is
           occurring, they need not be performed during the inspection.

       (B) The parties agree that the information obtained as a result of the inspection will be
           treated confidentially and shall be used solely for purpose of this action.

       Plaintiffs withdraw this motion, including their requests for fees and costs.

       C. Motion to Compel Discovery [DOC. # 88]

Joint Position as to Casey’s Supplemental Rule 26(a) Disclosure:

       By October 12, Casey will amend her Rule 26 Disclosure by October 12, 2018 with respect

to the damages computation section to either (i) provide a computation of each category of

damages and produce any unprivileged or non-protected documents or other evidentiary material

on which each computation is based; or (ii) withdraw any claim of damages previously asserted in

her Rule 26(a) disclosure.

       Plaintiffs withdraw the motion with respect to this claim for relief.

Joint Position as to Plaintiffs’ Document Request:

       The parties could not reach a consensus regarding this part of the motion.

       This part of the motion has been fully briefed and the parties request that the Court

rule on this part of the motion, as submitted.

       D. Second Motion to Compel Discovery [DOC. # 92]

Joint Position as to First Request for Admissions:

       The parties could not reach a consensus regarding this part of the motion. Casey will file

her response to the motion by October 19, and Plaintiffs will file their reply.

       The parties request that the Court rule on this part of the motion after briefing is

completed.
                                                 2
Joint Position as to First Interrogatories:

        Casey agreed to respond to Interrogatory No. 4, by providing information about which

chimpanzees were housed with which chimpanzees during the “Relevant Time Period,” by

October 12, 2018.

        Casey agreed to respond to Interrogatory No. 7, by providing information as to the

individual housing arrangements for each chimpanzees and identifying which enclosure housed

which chimpanzee during the “Relevant Time Period,” by October 12, 2018.

        Casey will make a good faith effort to amend her responses to provide substantive

responses to Interrogatories 10, 12, 13, 16, 19, 20, and 21, by October 12, 2018.

        Although consensus could not be reached on the remaining interrogatories, Plaintiffs

withdraw this pending motion with respect to this claim for relief.

Joint Position as to Second Requests for Admissions:

        The parties hereby stipulate that the USDA documents attached as Exhibits 1 through 20

to Counterclaim Plaintiffs’ Second Requests for Admission meet the requirement of authenticity

imposed by Federal Rule of Evidence 901. Casey reserves all other objections to the use of the

said documents at trial and to their admissibility.

        Plaintiffs withdraw this pending motion with respect to this claim for relief.

II.     SCHEDULE FOR COMPLETING STEPS NECESSARY FOR THIS CASE TO
        PROCEED TO TRIAL

Joint Positions Related to the Schedule1

        1.      The parties will supplement their disclosures, pursuant Federal Rule Civil

Procedure 26(a)(1), by October 15, 2018.



1
 Counterclaim Defendant Sawyer has agreed to the following provisions of the schedules
proposed by Plaintiffs and Casey, in the event Plaintiffs’ request for a default judgment against
                                                  3
       2.      The disclosure or discovery of electronically stored information shall be handled

by the parties on an ongoing basis, as necessary, based upon the availability and/or existence of

electronically stored information, if any, consistent with the Federal Rules of Civil Procedure.

       3.      The party asserting a claim of privilege shall initially handle such claims through

the production of a privilege log, which need not include privileged post-lawsuit communications

between the party and their counsel, to the extent the communications were not shared with third

parties. The parties anticipate that there may be some desire to protect certain documents through

the issuance of an appropriate protective order from the Court, which will be jointly filed on or

before the date of the Case Management Conference.

       4.      The parties agree that the presumptive limit of twenty-five (25) interrogatories and

ten depositions per party should apply in this case. Depositions will be scheduled by mutual

agreement of the parties.

       5.      The parties do not anticipate making a request for physical or mental examination

pursuant to Rule 35 of the Federal Rules of Civil Procedure in this case.

       6.      With the exception of pending and anticipated motions to compel, the parties are

not aware of any other pending matters pertinent to the completion of discovery in this case.


Plaintiffs’ proposal:

       Defendants filed their claims in December 2016, nearly two years ago. Plaintiffs propose

a schedule that extends the dispositive motion deadline by more than two months, and trial by

more than one month, from the deadlines ordered by this Court in March [ECF No. 54]. Plaintiffs




Sawyer is denied: items 1-4 of the Joint Positions Related to the Schedule, and items 1-6 and 8-9
of Casey’s proposal.
                                                 4
believe this is ample time given the limited record in this case, and strongly disagree that a schedule

befitting a newly filed case is appropriate at this stage of the litigation.

        1.      Plaintiffs do not believe that any amendments to the pleadings or joinder of

additional parties are appropriate without a court order.

        2.      Both parties shall disclose expert witness identities and reports, if any, by

December 14, 2018.

        3.      Both parties shall disclose rebuttal reports, if any, by January 11, 2019.

        4.      All discovery shall be completed by February 8, 2019.

        5.      Any dispositive motions shall be filed no later than March 15, 2019, with any

response to such motion filed no later than April 5, 2019. Any reply shall be filed on or before

April 19, 2019.

        6.      Plaintiffs believe that the earliest date by which this case should be expected to be

ready for trial is June 24, 2019.


Casey’s proposal:

        Given the state of this case, this case has not proceeded as it normally would have with

respect to discovery. As a consequence of that, much work remains to be done with respect to

discovery and expert identification. Therefore, a scheduling order more typical of a newly filed

case is more appropriate. In keeping with that, Casey proposes the following scheduling plan:

        1.      All amendments to the pleadings and joinder of additional parties shall be made by

January 8, 2019.

        2.      Counterclaim Plaintiff shall disclose expert witness identities and reports by March

8, 2019.




                                                   5
       3.      Counterclaim Plaintiff shall make his expert witnesses available for deposition by

April 12, 2019.

       4.      Counterclaim Defendants shall disclose the identity of their expert witnesses and

reports by May 12, 2019.

       5.      Counterclaim Defendants shall make their expert witnesses available for deposition

by June 13, 2019.

       6.      All discovery will be completed by June 31, 2019, with the further understanding

that any outstanding discovery issues will be addressed by motion no later than July 11, 2019.

       7.      Casey believes that referral of this action to mediation in February 1, 2019 may be

beneficial.

       8.      Any dispositive motions shall be filed no later than August 1, 2019, with any

response to such motion filed no later than August 30, 2019. Any reply shall be filed on or before

September 11, 2019, if the Court believes this provides adequate time to rule on any dispositive

motions.

       9.      Casey believes that the earliest date which this case should be expected to be ready

for trial is November 11, 2019. The parties expect that the trial will last at least 5 days.


III.   WHETHER THE PARTIES’ DISPUTES HAVE ANY CHANCE OF BEING
       RESOLVED THROUGH SETTLEMENT

Joint Position as to Settlement:

       Settlement discussions have presently been unsuccessful. However, the parties are willing

to continue to discuss the issues surrounding settlement.

                                               Respectfully submitted,

                                               /s/ Jared S. Goodman
                                               JARED S. GOODMAN (#1011876DC)

                                                  6
(Admitted pro hac vice)
PETA Foundation
2154 W. Sunset Blvd.
Los Angeles, CA 90032
323.210.2266
Fax No: 213.484.1648
jaredg@petaf.org

MARTINA BERNSTEIN (#230505CA)
(Admitted pro hac vice)
PETA Foundation
1536 16th St. NW
Washington, DC 20036
202.483.7382
Fax No: 202.540.2208
martinab@petaf.org

POLSINELLI PC
JAMES P. MARTIN (#50170)
KELLY J. MUENSTERMAN (#66968)
100 S. Fourth Street, Suite 1000
St. Louis, MO 63102
314.889.8000
Fax No: 314.231.1776
jmartin@polsinelli.com
Attorneys for Defendants/
Counterclaim Plaintiffs

/s/ Victor H. Essen, II
DEBBIE S. CHAMPION, #38637MO
VICTOR H. ESSEN, II, #57629MO
500 North Broadway, Suite 1550
St. Louis, MO 63102
314-421-4430 / FAX: 314-421-4431
dchampion@rssclaw.com
vessen@rssclaw.com
Attorneys for Plaintiff/Counter-Defendant
Connie Braun Casey




   7
